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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 V.                                              §    CASE NO. 1:06-CR-65(2)
                                                 §
 OVERSEAS SHIPHOLDING                            §
 GROUP, INC.                                     §


                         MEMORANDUM ORDER ADOPTING
                     RECOMMENDATION ON MOTION TO SUPPRESS

          Pending before the Court is Defendant Overseas Shipholding Group, Inc.’s Motion to

 Suppress Evidence Seized and Derived From September 15, 2005 Pretext Search [Clerk’s doc. #62].

 The Court referred the motion to the Honorable Keith F. Giblin, United States Magistrate Judge, at

 Beaumont, Texas, for hearing and submission of a recommended disposition pursuant to 28 U.S.C.

 § 636(b)(1)(B) and the Local Rules for the United States District Court for the Eastern District of

 Texas.

          Having conducted the proceedings in the form and manner prescribed by the Federal Rules

 of Criminal Procedure, the Magistrate Judge issued his Report and Recommendation on Defendant

 OSG’s Motion to Suppress [Clerk’s doc. #97]. Judge Giblin recommended that the Court deny the

 Defendant’s Motion to Suppress.

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        The parties have not filed objections to Judge Giblin’s report and recommendation in

 accordance with 28 U.S.C. § 636(b)(1). After review, the Court concludes that the Report and

 Recommendation [Clerk’s doc. #97] should be accepted.

        Accordingly, the Magistrate Judge’s Report and Recommendation on Defendant OSG’s

 Motion to Suppress [Clerk’s doc. #97] is ADOPTED by the Court. The factual findings and legal

 conclusions of the magistrate are therefore fully incorporated by the undersigned in support of this

 order. The Court ORDERS that Defendant Overseas Shipholding Group, Inc.’s Motion to Suppress

 Evidence Seized and Derived From September 15, 2005 Pretext Search [Clerk’s doc. #62] is

 DENIED.

        SIGNED this the 19 day of October, 2006.




                                       ____________________________
                                       Thad Heartfield
                                       United States District Judge




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